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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TEXAS
                            MARSHALL DIVISION


 VOCALIFE LLC,                           Case No. 2:21-cv-00123-JRG
                                         (LEAD CASE)
            Plaintiff,

                                         JURY TRIAL DEMANDED
       v.

 HARMAN INTERNATIONAL
 INDUSTRIES, INC.,

            Defendant.

 VOCALIFE LLC,                           Case No. 2:21-cv-00124-JRG

            Plaintiff,                   JURY TRIAL DEMANDED

       v.

 GOOGLE LLC,

            Defendant.




       GOOGLE’S MOTION TO CONTINUE THE STAY OF PROCEEDINGS
     PENDING RESOLUTION OF INSTITUTED IPR PROCEEDINGS FOR ALL
         ASSERTED PATENT CLAIMS AND THE VOCALIFE I APPEAL
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I.     INTRODUCTION

       Google respectfully requests that the Court continue the present stay in this case pending

the outcome of the IPR proceedings recently instituted against all of the claims of the asserted

patents, as well as the Federal Circuit appeal of the judgment in Vocalife LLC v. Amazon.com,

Inc., No. 2:19-cv-00123-JRG (E.D. Tex.) (“Vocalife I”).

       This case has been stayed since November 2021 to permit Vocalife to take venue-related

discovery. See Dkt. 71. The Patent Trial and Appeal Board (“PTAB”) recently instituted inter

partes reexamination of all of the claims of both asserted patents. See IPR2021-0331; IPR 2022-

00004; and IPR2022-00005. A continuance of the stay is appropriate to permit the instituted

proceedings at the PTAB and Federal Circuit to conclude, thereby preventing unnecessary and

duplicative litigation in this case. Because the PTAB will address the validity of every asserted

claim, a stay pending the completion of those proceedings will conserve judicial resources. In

addition, Amazon’s appeal in Vocalife I presents claim construction and damages issues that

substantially overlap with key issues affecting both patents in this case. A continuance until the

IPRs and the Vocalife I appeal are resolved will simplify the case and prevent the Court and the

parties from spending resources on matters that the PTAB and Federal Circuit will soon decide.

II.    FACTUAL BACKGROUND

       A.      The Related Amazon Litigation

       Vocalife has filed a series of cases alleging infringement of Patent Nos. RE47,049 and

RE48,371. Both of the ’049 and ’371 patents are reissues of the same predecessor patent, and

their claims are nearly identical.

       In April 2019, Vocalife sued Amazon, alleging infringement of the ’049 patent. Vocalife

I, Dkt. 1. The case proceeded to trial, and the Court entered judgment in Vocalife’s favor in

November 2020. Vocalife I, Dkt. 343. One month later, while post-trial motions were pending,


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Vocalife filed a second lawsuit against Amazon, alleging infringement of the ’371 patent, as well

as infringement of the ’049 patent with respect to Amazon products released after the verdict in

Vocalife I. See Vocalife v. Amazon.com, Inc., No. 2:20-cv-00401-JRG, Dkt. 36 (E.D. Tex. June

15, 2021) (“Vocalife II”). Amazon appealed the Vocalife I judgment, raising claim construction

issues in addition to other arguments. Vocalife I, Dkt. 372. Vocalife filed a cross-appeal,

contending that the district court erred in finding the doctrine of absolute intervening rights

precluded Vocalife from seeking damages for pre-reissue infringement and requesting a new trial

on damages. Id. at Dkt. 374.

       Amazon moved to stay the district court litigation in Vocalife II pending the Federal

Circuit’s resolution of Vocalife I. See Vocalife II, Dkt. 31 at 16. Vocalife opposed the stay. On

November 22, 2021, Judge Payne granted Amazon’s motion and stayed the case. See Ex. G

(Vocalife II Order Granting Stay). The parties have completed briefing for the appeal and cross-

appeal, and oral argument likely will be scheduled for a date within the next six months.

       B.      The Google Case

       While the Vocalife I and II cases were pending, Vocalife continued its staggered

enforcement campaign by filing this case against Google, asserting the same ’049 and ’371

patents. Google filed a Motion to Dismiss for Improper Venue or, in the Alternative, to Transfer,

and subsequently moved to stay the case pending resolution of its motion. See Dkt. 56. On

November 19, 2021, the Court entered a stay to “allow Vocalife to pursue discovery related to

venue before other issues, such as the Markman hearing, are considered by this Court.” Vocalife

v. Harman International Indus. Inc., No. 2:21-cv-00123, Dkt. 71 (“November 19 Order”) at 3.

       At the time the stay was entered in this case, the parties had not conducted significant

discovery. In fact, the majority of the discovery conducted in this case thus far is venue-related

discovery, including one deposition. Aside from that, neither party has taken any depositions;


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the parties have served limited discovery requests and responses; the parties have not served any

expert disclosures or filed substantive motions; and the Court has not held a Markman hearing or

construed the claim terms. The venue-related stay remains in effect with no specific end date,

and a revised Docket Control Order has not been entered for this action.

       C.      IPR Proceedings

       Google and Amazon both filed IPR petitions challenging the validity of the asserted

patents. On January 31, 2022, the PTAB instituted proceedings on Amazon’s IPR challenging all

claims of the ’371 patent, and on April 15, 2022, the PTAB instituted proceedings on both of

Google’s IPRs challenging all claims of the ’049 and ’371 patents. Ex. I (PTAB’s Institution

Decision in IPR2021-0331) at 2–3; Ex. J (PTAB’s Institution Decision in IPR 2022-00004) at

32; Ex. K (PTAB’s Institution Decision in IPR2022-00005) at 2. As a result, all of the claims of

the asserted patents are now subject to instituted IPRs. Final written decisions are anticipated

from the PTAB in Amazon’s IPR in January 2023 and in Google’s IPRs in April 2023.

III.   ARGUMENT

       “[T]he power to stay proceedings is incidental to the power inherent in every court to

control the disposition of the causes on its docket with economy of time and effort for itself, for

counsel, and for litigants.” Landis v. North Am. Co., 299 U.S. 248, 254 (1936). “Stays are

favored in the interest of conserving judicial and party resources, and avoiding duplicitous

litigation.” Nichia Corp. v. Mary Elle Fashions, Inc., No. 2:16-CV-615-JRG, 2016 WL 9558954, at

*1 (E.D. Tex. Dec. 22, 2016) (citing In re Google Inc., 588 Fed. App’x. 988, 990 (Fed. Cir. 2014)).

       A stay is particularly justified when the outcome of a parallel proceeding “is likely to

assist the court in determining patent validity or eliminate the need to try infringement issues.”

Ericsson Inc. v. TCL Commc’n Tech. Holdings, Ltd., No. 2:15-CV-00011-RSP, 2016 WL

1162162, at *1 (E.D. Tex. Mar. 23, 2016). This Court regularly stays proceedings where the


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PTAB institutes IPRs on claims that the patentee has asserted in district court litigation. See, e.g.,

Uniloc USA, Inc. v. Avaya Inc., No. 6:15-cv-001168-JRG, 2017 WL 2882725, at *3 (E.D. Tex.

Apr. 19, 2017); Image Processing Techs. LLC v. Samsung Elecs. Co., No. 2:16-cv-505-JRG,

2017 WL 7051628, at *2 (E.D. Tex. Oct. 25, 2017). For similar reasons, this Court has also

previously stayed proceedings pending appeal of a separate action, recognizing that a Federal

Circuit decision altering a prior claim construction opinion or reversing a ruling may moot issues

in pending district court litigation. Nichia, 2016 WL 9558954, at *1; see also Rotatable Techs.

LLC v. Fossil, Inc., No. 2:13-cv-109-JRG, Dkt. 42 at 2 (E.D. Tex. Nov. 26, 2013) (attached as

Ex. A 1) (“This Court sees the wisdom in conserving its resources while key issues in this case

await dispositive treatment from the Federal Circuit.”).

       The Court considers three factors in determining whether to stay litigation: “whether a

stay will simplify the issues in question and trial of the case,” “whether a stay will unduly

prejudice or present a clear tactical disadvantage to the nonmoving party,” and “whether

discovery is complete and whether a trial date has been set.” Lodys, LLC v. Brother Intern.

Corp., No. 2:11-cv-90-JRG, 2013 WL 1338767, at *10 (E.D. Tex. Jan. 14, 2013) (citing

Soverain Software LLC v. Amazon.com, Inc., 356 F. Supp. 2d 660, 662 (E.D. Tex. 2005)); Dkt.

71 (applying the Soverain factors); Ex. G (Vocalife II Order Granting Stay). Here, each factor

weighs in favor of a continuance of the stay until the IPRs and the Vocalife I appeal are resolved.




1
 Unless otherwise noted, exhibits cited herein are attached to the Declaration of Mica L. Moore,
submitted herewith.


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       A.      Continuing the Stay Will Simplify and Streamline the Issues for
               Consideration.

               1.      The resolution of the IPRs will simplify the litigation, and may even
                       eliminate it entirely.

       In this Court’s view, “the prospect that [an] inter partes review proceeding will result in

simplification of the issues before the Court” is the “most important factor bearing on whether to

grant a stay.” See Intellectual Ventures II LLC v. BITCO Gen. Ins. Corp., No. 6:15-cv-59-JRG,

2016 WL 4394485, at *3 (E.D. Tex. May 12, 2016) (granting a stay where nine out of ten

asserted claims were subject to PTAB review). Where the PTAB institutes review on all claims

asserted against a defendant, “the ‘simplification’ factor weighs strongly in favor of granting a

stay.” See Uniloc, 2017 WL 2882725, at *3.

       Here, all of the claims of the patents that Vocalife asserts in this case are the subject of at

least one (and in the case of the ’371 patent claims, two) instituted IPR. The IPRs therefore have

the potential to be entirely case dispositive, which would provide the “ultimate simplification of

issues.” VirtualAgility v. Salesforce.com, Inc., 759 F.3d 1307, 1314 (Fed. Cir. 2014).

       At minimum, the PTAB’s institution of IPRs on all of the asserted claims in this case

suggests that there is a reasonable likelihood that “some portion of the litigation will fall away”

as a result of the IPRs. See 35 U.S.C. § 315(a) (“The Director may not authorize an inter partes

review to be instituted unless … there is a reasonable likelihood that the petitioner would prevail

with respect to at least 1 of the claims challenged in the petition.”). Even in the unlikely event

that the PTAB were unexpectedly to confirm all of the asserted claims, a stay will simplify the

case by reducing the claim construction and invalidity issues that must be addressed in this

litigation. See § 315(e)(1) (stating that a final written decision in an IPR estops the petitioner

from asserting in a district court action “any ground that the petitioner raised or reasonably could

have raised during that [IPR]”). The simplification factor thus weighs strongly in favor of a stay.


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               2.      The resolution of the Vocalife I appeal will simplify and streamline the
                       issues.

       The issues in the Vocalife I appeal substantially overlap with key issues disputed in the

present case, including claim construction and damages. The Federal Circuit’s controlling

resolution of those questions will simplify issues in this case with respect to both the ’049 patent

and the ’371 patent, further counseling in favor of a stay. See, e.g., Nichia, 2016 WL 9558954, at

*2 (“[A] stay has the potential to simplify issues before this Court,” where “[t]he Federal Circuit

will address three critical issues on appeal,” including issues related to claim construction.).

       To start, Google has raised in this case the very same claim construction questions that

Amazon asked the Federal Circuit to address in the Vocalife I appeal. Claim 1 of the ’049 patent

recites a method for enhancing a target sound signal received by a microphone array, that method

comprising in relevant part “receiving sound signals from a plurality of disparate sound sources”

(such as ambient noise), where “said received sound signals comprise said target sound signal,”

and “determining a delay each of said sound sensors and an origin” of the array based on the

“azimuth angle” of “said target sound signal.” All of the claims in Vocalife’s patents recite

similar steps. Google has asserted that the plain language of the claims, read in the context of the

specification and prosecution history, requires the receipt of the target sound signal before any

determination of the delay in the receipt of the signal at different microphones in the array can be

made. See Dkt. 70-3 (Google’s Proposed Claim Constructions) at term 1 (“azimuth angle…”)

and term 7 (order of steps); Ex. B (Declaration of Dr. Chris Kyriakakis Regarding Claim

Construction) at Sections VI.A and VI.B. Vocalife disputes this construction. See, e.g., Ex. C

(Vocalife’s 12/8/2021 Cross-Appeal Brief) at 37–46; Ex. D (Vocalife’s Opening Claim

Construction Brief in Vocalife II) Dkt. 58 at 14–17.




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       This exact question—which affects all of the asserted claims of the ’049 and ’371

patents 2—is pending before the Federal Circuit. Specifically, Amazon contends on appeal that

the Court erred in “reject[ing] Amazon’s construction specifying that the step of ‘receiving’

sound signals including the target sound signal must occur before the step of ‘determining’ a

delay based on the received target sound signal.” Ex. E (Corrected Brief of Defendants-

Appellants) at 3–4, 29–36. The Federal Circuit’s resolution of this question—whether for or

against Amazon—will likely simplify claim construction proceedings and subsequent expert

discovery and dispositive motions in this case. See, e.g., Ottah v. Fiat Chrysler, 884 F.3d 1135,

1140 (Fed. Cir. 2018) (giving stare decisis effect to claim construction decision in prior appeal);

Key Pharm v. Hercon Labs. Corp., 161 F.3d 709, 716 (Fed. Cir. 1998) (recognizing “the national

stare decisis effect that [the Federal Circuit’s] decisions on claim construction have”); Miken

Composites LLC v. Wilson Sporting Goods Co., 515 F.3d 1331, 1338 n.* (Fed. Cir. 2008) (same).

       Amazon also has appealed this Court’s application of certain key claim terms in its

decision denying Amazon’s motion for judgment of non-infringement as a matter of law.

Specifically, among other issues, Amazon disputes the Court’s application of claim limitations

concerning (1) “determining a delay” based in part on “an azimuth angle between said reference

axis and said target sound signal,” Ex. E (Corrected Brief of Defendants-Appellants) at 38;

(2) representing the delay “in terms of number of samples,” id. at 44; (3) and “estimating a

spatial location of said target sound signal” using a “sound source localization unit,” id. at 53.

The interpretation of these three claim terms also is actively disputed by the parties in this case.


2
 The parties agree that this claim construction question implicates all of the claims of the ’049
and ’371 patents. See Dkt. 70-2 (Vocalife’s Proposed Claim Construction) at 4 (stating that the
“order of steps” issue affects “All Claims” of both patents); see also Vocalife II, Dkt. 49-2
(Vocalife’s Proposed Claim Constructions) at 3 (listing all of the independent claims of the ’049
and ’371 patents as relevant to the “order of steps” issue).


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See Dkt. 70-3 (Google’s Proposed Claim Constructions) (terms 1, 2, 5, 7, and 8). The Federal

Circuit’s resolution of the parties’ contentions related to these claim terms therefore will likely

help to streamline the issues for the Court and the jury in this case. 3

       Indeed, in Vocalife II, where Amazon has raised the same claim construction issues

pending here, following the Markman hearing but prior to issuing its claim construction decision,

the Court prudently chose to stay the case, observing “the outcome of the appeal will greatly, if

not completely, simplify or resolve the issues pending before the Court in the instant case.” Ex.

G (Vocalife II Order Granting Stay); see also Ex. H (Vocalife II Markman Hearing Tr.) at 11-12,

16, 20 (discussing overlap with appeal). The same reasoning counsels in favor of a stay here.

       Vocalife’s cross-appeal only further confirms that litigation on the merits prior to the

Federal Circuit’s decision in Vocalife I would be wasteful. Vocalife contests the Court’s ruling

that the doctrine of absolute intervening rights precludes recovery of pre-reissue damages for

alleged infringement of the ’049 patent’s method claims, and Vocalife requests a new trial on

damages. See Ex. C (Vocalife’s 12/8/2021 Cross-Appeal Brief) at 51–52, 69–70. The Court’s

underlying ruling turned on a question of statutory interpretation regarding the scope of section

35 U.S.C. § 252 of the Patent Act, on which courts have split. See Vocalife I, Dkt. 252 at 7


3
  To cite just one concrete example of how the infringement issues before the Federal Circuit
might affect this case, Amazon has challenged the sufficiency of Vocalife’s evidence for the
claim limitation “wherein said delay is represented in terms of number of samples,” on the
ground that Vocalife presented evidence that Amazon’s devices perform calculations in the
frequency domain but failed to show that they actually represent any delay in terms of number or
quantity of samples. See Ex. E (Corrected Brief of Defendants-Appellants) at 44–45. Similarly,
in this case Vocalife has alleged that Google’s devices use “a ‘time-frequency’ representation,”
but it has failed to cite any evidence showing that Google’s devices represent any delay as a
number measuring a quantity of samples. See Ex. F (Vocalife’s Infringement Contentions, ’049
Claim Chart) at 33–34. In its proposed claim constructions, Google is seeking clarity on the
scope of this claim term. See Dkt. 70-3 (Google’s Proposed Claim Constructions) at C-3 (setting
forth disputed claim term “said delay is represented in terms of number of samples”). The
Federal Circuit’s decision likely will answer this claim construction question.


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(observing that “[t]he issue of whether absolute intervening rights apply to the method claims has

not yet been decided by the Federal Circuit and is the subject of a split among specific district

courts”). Google also contends that Vocalife is not entitled to pre-reissue damages for any

asserted method claims. Therefore, absent a stay, this same issue will likely be disputed in the

present case.

        The costs of unnecessary litigation on these issues are significant. Oral argument in

Vocalife I will likely be scheduled in the next six months, and a decision is likely to be issued

three or four months after argument. Without a stay, there is a real risk that, if litigation in this

case resumes, the parties and the Court will be required to spend resources on activities that may

be rendered moot by the Federal Circuit, including claim construction, expert discovery, and

dispositive motions. Such waste may be avoided by continuing to stay further proceedings on the

merits until the Federal Circuit issues a decision in Vocalife I.

        B.      Continuing the Stay Will Not Prejudice Vocalife.

        While failing to stay the case risks the significant waste of judicial resources, a

continuance of the stay pending resolution of the IPRs and the Vocalife I appeal will not

prejudice or impose any tactical disadvantage on Vocalife. It benefits neither party to proceed to

the merits while Vocalife’s asserted claims are subject to IPR, or while an appeal remains

pending that will dispose of critical issues—including issues on which Vocalife itself seeks to

prevail in its cross-appeal. Indeed, as this Court held in Nichia, a stay is likely to benefit, not

harm, Vocalife, because, “much like the Court and Defendant[],” Vocalife’s “resources will be

preserved and it will avoid the potential likelihood of relitigating substantive issues and

unnecessary discovery.” Nichia, 2016 WL 9558954, at *2.

        Nor will further delay impair Vocalife’s ability to secure effective relief in this case

should it ultimately prevail. As an initial matter, as set forth in more detail in Google’s briefing


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in opposition to Vocalife’s pending Motion for Leave to Serve Subpoenas (see Dkt. 77 and 81),

Vocalife has not been diligent in pursuing the venue discovery permitted by the Court or in

seeking to move this case forward. In addition, Vocalife cannot credibly claim prejudice or

disadvantage arising from a stay. Vocalife seeks only monetary damages for the alleged

infringement, and a continuance of the current stay “will not diminish the monetary damages to

which [Vocalife] will be entitled if it succeeds in its infringement suit” but will “only delay[]

realization of those damages[.]” VirtualAgility Inc, 759 F.3d at 1318. Under these circumstances,

Vocalife’s desire to avoid delay in the vindication of its patent rights—an interest “present in

every case in which a patentee resists a stay”—cannot alone defeat this motion. NFC Technology

v. HTC America Inc., No. 2:13-cv-1058-WCB, 2015 WL 1069111, at *2 (E.D. Tex. Mar. 11,

2015).

         C.     The Status of the Case Weighs in Favor of Continuing the Stay.

         Finally, the relatively early stage of this case also weighs in favor of a continuance. Stay

relief is appropriate when “there remains a significant amount of work ahead for the parties and

the court,” although “[a] case need not be in its infancy to warrant a stay.” Norman IP Holdings,

LLC v. TP-Link Techs., Co., No. 6:13-cv-384-JDL, 2014 WL 5035718, at *3 (E.D. Tex. Oct. 8,

2014). The case has been stayed nearly six months for venue discovery, and the parties have not

yet begun substantial work on the merits. As this Court observed in its November 19 Order, the

parties have not yet submitted claim construction briefs, and the date set for the Markman

hearing was about two months away at the time the Court took the hearing off calendar. See Dkt.

71 at 3 n.3. At this time there is no active trial date or scheduling order; Vocalife has not yet

noticed any depositions (aside from venue depositions); and the pleadings have not yet closed.

Because “a significant amount of work” remains for the Court and for the parties, a stay is

appropriate. Norman, 2014 WL 5035718, at *3.


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       The Court may exercise its inherent power to stay this case in its entirety pending the

resolution of the IPRs and the Vocalife I appeal. In the alternative, the Court may decide the

pending Motion to Dismiss, which raises venue-related issues on which the Vocalife I appeal will

have no bearing, while maintaining the stay of all other deadlines pending the appeal, consistent

with Fifth Circuit authority holding that venue determinations are a threshold issue that must take

“top priority” in a district court’s handling of a case. In re Horseshoe Entertainment, 337 F.3d

429, 433 (5th Cir. 2003).

IV.    CONCLUSION

       Because all relevant factors favor relief, Google requests a continuance of the Court’s

stay pending conclusion of the IPR proceedings (IPR2021-01331, IPR2022-00004, and

IPR2022-00005) and any rehearings or appeals of the PTAB’s Final Written Decisions in the

IPRs and the conclusion of the Vocalife I appeal.



 Dated: May 10, 2022                           Respectfully submitted,

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                              CERTIFICATE OF CONFERENCE

       On April 27, 2022 pursuant to Local Rule CV-7(h), counsel for Defendant met and

conferred with counsel for Plaintiff, and counsel for Plaintiff indicated that Plaintiff is opposed

to the relief sought by this Motion.

                                              /s/ Zachary M. Briers
 Dated: May 10, 2022                      By: Zachary M. Briers
